                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

              Plaintiff,

      v.                                    Case No. 20-CV-1771

WISCONSIN ELECTIONS
COMMISSION, and its members ANN S.
JACOBS, MARK L. THOMSEN, MARGE
BOSTELMAN, JULIE M. GLANCEY,
DEAN KNUDSON, ROBERT F.
SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS,
in his official capacity,

              Defendants.


      DEFENDANTS WISCONSIN ELECTIONS COMMISSION
            AND ITS MEMBERS’ SUBMISSION OF
     UNREPORTED AUTHORITY PURSUANT TO CIVIL L.R. 7(J)


      Defendants Wisconsin Elections Commission, Ann S. Jacob, Mark L.

Thomsen, Marge Bostelman, Julie M. Glancey, Dean Knudson, and Robert F.

Spindell, Jr., by their attorneys, and pursuant to Civil L. R. 7(j), hereby submit

the following attached unreported authority cited in both Defendant

Commission and Commissioner’s Response Opposing Plaintiffs’ Motion for a

Temporary Restraining Order and Preliminary Injunction and Defendants

Wisconsin Elections Commission and Its Members’ Brief in Support of Motion




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to Dismiss, both of which are filed herewith. The unreported authority cited in

both briefs is the same and consists of the following cases:

         1.    Martel v. Condos, -- F. Supp. 3d. --, 2020 WL 5755289
               (D. Vt. 2020);

         2.    Moore v. Circosta, -- F. Supp. 3d --, 2020 WL 6063332
               (M.D.N.C. 2020);

         3.    Donald J. Trump for Pres., Inc. v. Cegavske, -- F. Supp. 3d --,
               2020 WL 5626974 (D. Nev. 2020);

         4.    Bognet v. Sec’y Commonwealth of Pennsylvania, -- F.3d --,
               2020 WL 6686120 (3d. Cir. Nov. 13, 2020);

         5.    Donald J. Trump for President, Inc. v. Boockvar,
               No. 20-CV-966, 2020 WL 5997680 (W.D. Pa. Oct. 10, 2020);

         6.    Donald J. Trump for President, Inc. v. Pennsylvania,
               No. 20-3371, 2020 WL 7012522 (3d Cir. Nov. 27, 2020).

         7.    Wood v. Raffensperger, No. 20-14418, 2020 WL 7094866
               (11th Cir. Dec. 5, 2020)


         8.    King v. Whitmer, No. 20-13134 (E.D. Mi. Dec. 7, 2020)


      Dated this 7th day of December, 2020.

                                      Respectfully submitted,

                                      JOSHUA L. KAUL
                                      Attorney General of Wisconsin

                                      Electronically signed by:

                                      s/ S. Michael Murphy
                                      S. MICHAEL MURPHY
                                      Assistant Attorney General
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